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                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                           Criminal No. 09-cr-187-02-JL

Lynette Maryea


                                  O R D E R


        The assented to motion to reschedule jury trial (document no.

162 ) filed by defendant is granted. The continuance is limited to

60 days.          Final Pretrial is rescheduled to July 22, 2010 at

2:00pm; Trial is continued to the two-week period beginning August

3, 2010, 09:30am.

        Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.

        SO ORDERED.



                                          _______________________________
                                          Joseph N. Laplante
                                          United States District Judge

Date:     May 17, 2010




cc:   All Counsel
      U.S. Marshal
      U.S. Probation
